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                 UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT
                                   THURGOOD MARSHALL UNITED STATES COURTHOUSE
                                                40 FOLEY SQUARE
                                               NEW YORK, NY 10007
                                                    212-857-8500




                        ACKNOWLEDGMENT AND NOTICE OF APPEARANCE INSTRUCTIONS

                      The Acknowledgment and Notice of Appearance form requires all parties to provide
              contact information, any required corrections to the caption, a review of the parties' appellate
              designations, and information regarding any related cases before this Court. Counsel must also
              certify that they have been admitted to this Court and have complied with all rules regarding
              admission renewal or that they have applied for admission to this Court. If the Court has not
              yet admitted counsel or approved counsel for renewed admission, personal contact information
              for each represented client must be provided on Addendum A. In accordance with Local Rule
              12.3(a), this form must be completed and returned within 14 calendar days of receipt of the
              docketing notice.

                      Each lead counsel of record or individual appearing P'ro se must complete this form.
              Any attorney acting as a substitution or amicus counsel or any attorney other than lead counsel
              of record wishing to enter the case must file a separate notice of appearance on the Notice of
              Appearance for Substitution, Additional, or Amicus Counsel form provided on the court's
              website.

                     Counsel of record must be admitted to the bar of this Court or be otherwise eligible to
              argue an appeal. The Court requires written P'ro he <1/ice motions filed before filing the notice
              of appearance. Admission P'ro has vice will be extended as a matter of course to a member of
              the bar of a district court within the circuit who has represented a criminal defendant at trial
              and continues representation on an appeal taken pursuant to the Criminal Justice Act. See
              Local Rule 46.I(d)(1). Counsel, however, are encouraged to apply for general admission to this
              Court as soon as they meet the qualifications.

                      An attorney or pro se party who does not immediately notify the Court when contact
              information changes will not receive notices, documents and orders filed in the case. An
              attorney and any pro se party who is permitted to file documents electronically in CM/ECF
              must notify the Court of a change to the user's mailing address, business address, telephone
              number, or e-mail. To update contact information, a Filing User must access PACER's Manage
              My Appellate Filer Account, httpsz//www.pacer.gov/psco/cgi-bin/cmecf/ea-login.pl. The
              Court's records will be updated within I business day of a user entering the change in PACER.

                     A pro se party who is not permitted to file documents electronically must notify the
              Court of a change in mailing address or telephone number by filing a letter with the Clerk of
              Court.

                    For information concerning attorney admissions and renewals, visit the court's website
              at www.ca2.uscourts.,qov or contact Admissions in the Clerk's Office at 212-857-8603 or 212-857-
              8640.
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                                       ACKNOWLEDGMENT AND NOTICE OF APPEARANCE

       Short Title: United States v Teman                                                  Docket No.: 25-_ (TBD) (From 25-332)



       Lead Counsel of Record (name/firm) or Pro se Party (name); Ari T&man, Pro Se

       Appearance for (party/designation): Ari Teman, Pro Se

                                        DOCKET SHEET ACKNOWLEDGMENT/AMENDMENTS

       Caption as indicated is:
       I
        »/ I Correct
             Incorrect. See attached caption page with corrections.

      Appellate Designation is z
       J Correct
       I
         I
           Incq1r{3qE,s The following parties do not wish to participate in this appeal:
      Co Incorrect. Please change the following parties' designations
               Party                                    Correct Designation


       Contact Information for Lead Counsel/Pro Se Party is:
       I J Correct
           I

       Eb Incorrect or Incomplete, and should be amended as follows:

       Name: ARI TEMAN
       Firm; PRO SE
       Address: 1521 Alton Road #888
       Telephone: 7817183375                                             Fax:
       E m a il:   ari@teman.com


                                                               RELATED CASES

       Cb This case has not been before this Court previously.
       I J This
           I    case has been before this Court previously. The short title, docket number, and citation are:
       21-1920, 24-345
       I] Matters related to this appeal or involving the same issue have been or presently are before this Court. The short titles,
       docket numbers, and citations are:


                                                               CERTIFICATION

       I certify that (Cl I am admitted to practice in this Court and, if required by LR 46.1(a)(2), have renewed my admission on
                                      OR that ( ) I applied for admission on                                 _or renewal on
                                     . If the Court has not yet admitted me or approved my renewal, I have completed Addendum A.

      Signature of Lead Counsel of Record:
      Type or Print Name: Ari Teman
               OR
      Signature of pro se litigant s/Ari Teman/
      T epor Print Name: ARI TEMAN
       J I am a pro se litigant who is not an attorney.
      Cl) I am an incarcerated pro se litigant.
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                        ADDENDUM A TO ACKNOVVLEDGMENT AND NOTICE OF APPEARANCE

       Instructions: This addendum must be (I) completed by counsel whom the Court has not yet admitted or
       approved for renewed admission, (2) submitted in CM/ ECF as a separate attachment when filing the
       Acknowledgment and Notice of Appearance (use the multiple attachments option in CM/ ECF when filing the
       Acknowledgment and Notice of Appearance) with client personal contact information redacted, and (3)
       submitted in unredacted form in accordance with the procedures outlined in Interim Local Rule 25.2(c) and (d).
       If counsel represents multiple parties in the same appeal for which the Acknowledgment and Notice of
       Appearance is being filed, the attorney must separately list each client and provide the client's personal contact
       information. Attach additional pages as necessary.

       Case Information:

      Short Title:                                                                       Docket Number:

       Personal Contact Information:

       Client I:

      Name:
      Address:
      Telephone:                                                Fax~
      Email:

       Client 2:

      Name:
      Address:
      Telephone:                                                Fax:
      Email:

       Client 3:

      Name:
      Address:
      Telephone:                                                PHX:
      Email:

       Client 41

      Name:
      Address:
      Telephone:                                                Fax:
      Email:

       Client 5:

      Name:
      Address:
      Telephone:                                                Fax~
      Email:
